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              (Briefly describe the property to be searched
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 property to be seized):
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          &&,&DQGWKHSODWHFDPHEDFNDV³1R5HFRUG´7)2-RH&DKLOOUHVHDUFKHGWKH
          LVVXHDQGIRXQGWKDWWKHSODWHZDVFRUUHFWO\HQWHUHGLQWRWKH&&,&V\VWHPEXWIRU
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   DVNHGDERXWKLVUHODWLRQVKLSZLWK-&$0$&+29$/(1&,$VDLGWKDWLWZDV³QRWKLQJ´
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   WKHSHUVRQZDVDQGLIWKH\ZHUHDOORZHGWREHRQKLVSURSHUW\EXWWKDW¶VWKHRQO\WLPH
   DERXWDOLFHQVHSODWHWKDWKHFRXOGUHFDOO:KHQDVNHGLI-&$0$&+2HYHUDVNHGKLP
   WRUXQDOLFHQVHSODWHKHVDLG³QRWWKDW,UHFDOO´:KHQDVNHGLI(&$0$&+2HYHUDVNHG
   KLPWRUXQDOLFHQVHSODWH9$/(1&,$VDLG³QRKHQHYHUGLG´DQGWKDWKHGLGQRWUHDOO\
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   UHPHPEHU9$/(1&,$VDLGKHQHYHUJRWSDLGPRQH\DQGVDLG³,PD\KDYHUDQDSODWH
    XQW ,GLGREYLRXVO\UXQDSODWHEXWLWZDVQ¶WWREHQHILWP\VHOIRU,GLGQ¶WJHWDQ\EHQHILW
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   SODWHDQGVDLGWKDWKHZRXOGWDNHDSRO\JUDSK9$/(1&,$VDLGLIKHUHFDOOHGULJKWWKHUH
   ZDVDYHKLFOHDURXQGKLVSODFHDQG-&$0$&+2ZDQWHGWRNQRZZKRLWZDVEHFDXVH
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   RXW RI FRQWURO DQG KH GLG QRW VHH DQ\ SK\VLFDO LQMXULHV DQG VKH GLG QRW FRRSHUDWH
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   DQ\SHUVRQDOJDLQRIGUXJV9$/(1&,$VDLGKHGLGQRWGRDQ\WKLQJWKDWKHZRXOGVD\
   ZDVFULPLQDODQGVDLGWKDWJLYLQJKLP -&$0$&+2 WKHOLFHQVHSODWHLQIRUPDWLRQZDV
   ZURQJ9$/(1&,$VDLGWKDWWKH\ &DPDFKRV QHYHUDVNHGKLPWRSDUWLFLSDWHLQLOOHJDO
   DFWLYLW\  9$/(1&,$ VDLG WKDW KH UDQ WKDW SODWH EXW LW ZDVQ¶W IRU DQ LOOHJDO DFWLYLW\
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